                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

IN THE MATTER OF:
Todd Jagiello                                                Chapter 7
                                                             Case No. 11-67954-wsd
                                                             Hon. Walter Shapero
      Debtor.
____________________________________/

Sandy Rakich,                                                Adv. No. 12-04096-wsd
                                                             Hon. Walter Shapero
        Plaintiff,
vs.

Todd Jagiello,

      Defendant.
___________________________________/

        ORDER DENYING DISCHARGE OF PLAINTIFF’S DEBT PURSUANT TO
                          11 U.S.C. § 523(a)(2)(A)

        After trial on the complaint of Sandy Rakich, (“Plaintiff”), objecting to the discharge of

its debt against Todd Jagiello, defendant/debtor, (“Defendant”), pursuant to 11 U.S.C. §§

523(a)(2)(A) and (a)(6), and the matter having been submitted for final decision; Now upon the

evidence adduced at said trial and in accordance with findings of fact and conclusions of law

decided by the Court pursuant to its Opinion Denying Dischargeability of Debt, dated August 8,

2013;

        IT IS ORDERED that the debt owed to Plaintiff by Defendant is not dischargeable

under 11 U.S.C. § 523(a)(2)(A).




 
                                                 .




    12-04096-wsd     Doc 48     Filed 08/30/13       Entered 08/30/13 15:49:11      Page 1 of 2
Signed on August 30, 2013
                                             ____ __/s/ Walter Shapero_    ___
                                                Walter Shapero
                                                United States Bankruptcy Judge

 




    12-04096-wsd   Doc 48   Filed 08/30/13    Entered 08/30/13 15:49:11   Page 2 of 2
